                                 Case 2:10-cr-00347-DAD Document 186 Filed 07/06/12 Page 1 of 1


 1   THE CRIMINAL DEFENSE GROUP
     Alan Baum, SBN 42160
 2   4181 Sunswept Drive, Ste. 100
     Studio City, CA 91604
 3   Telephone (818) 487-7400
     Fax (818) 487-7414
 4
     Attorneys for Defendant,
 5   DISHAN PERERA

 6
     Mark Waecker, SBN 81375
 7   300 South Grand Avenue, 24th Floor
     Los Angeles, CA 90071
 8   Telephone (213) 955-4500
     Fax (213) 955-4560
 9
     Attorneys for Defendant,
10   IMESH PERERA

11
                                                    IN THE UNITED STATES DISTRICT COURT
12
                                              FOR THE EASTERN DISTRICT OF CALIFORNIA
13

14   UNITED STATES OF AMERICA,                                          )
                                                                        ) Case No.: 2:10-cr-00347-MCE-1
15                                     Plaintiff,                       )
                                v.                                      ) ORDER
16                                                                      )
     DISHAN PERERA, IMESH PERERA, et al                                 )
17                                                                      ) Court: Hon. Morrison C. England
                                       Defendant.                       ) Time: 9:00 a.m.
18                                                                      ) Date: August 2, 2012
                                                                        )
19

20                              The United States Probation Officer is directed to prepare a pre-plea report as to
21   defendant Dishan Perera and defendant Imesh Perera.
22

23   Dated: July 5, 2012

24                                                                __________________________________
                                                                  MORRISON C. ENGLAND, JR
25
                                                                  UNITED STATES DISTRICT JUDGE
26

27   DEAC_Signatu re-END:   c4d6b0d3

28


                                                                        -1-
